Fill in this information to identify the case:

Debtor name        Residents First, LLC

United States Bankruptcy Court for the:      EASTERN DISTRICT OF MICHIGAN

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           Lease of 2022 Dodge
             lease is for and the nature of       Ram (1 of 2)
             the debtor's interest

                State the term remaining          28                                Ally Financial
                                                                                    6716 Grade Lane Bldg. 9
             List the contract number of any                                        Suite 910
                   government contract                                              Louisville, KY 40213


2.2.         State what the contract or           Lease of 2022 Dodge
             lease is for and the nature of       Ram (2 of 2)
             the debtor's interest

                State the term remaining          28                                Ally Financial
                                                                                    6716 Grade Lane Bldg. 9
             List the contract number of any                                        Suite 910
                   government contract                                              Louisville, KY 40213


2.3.         State what the contract or           Lease of 2023 Land
             lease is for and the nature of       Rover
             the debtor's interest

                State the term remaining          29 months
                                                                                    Chase Auto Finance
             List the contract number of any                                        270 Park Avenue
                   government contract                                              New York, NY 10017


2.4.         State what the contract or           Lease of Jeep SUV (1 of
             lease is for and the nature of       2)
             the debtor's interest

                State the term remaining          13
                                                                                    Chrysler Capital
             List the contract number of any                                        3000 Kellway Drive Suite 120
                   government contract                                              Carrollton, TX 75006




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Debtor 1 Residents First, LLC                                                     Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                            State the name and mailing address for all other parties with
                                                                      whom the debtor has an executory contract or unexpired
                                                                      lease

2.5.      State what the contract or        Lease of Jeep SUV (2 of
          lease is for and the nature of    2)
          the debtor's interest

             State the term remaining       13
                                                                          Chrysler Capital
          List the contract number of any                                 3000 Kellway Drive Suite 120
                government contract                                       Carrollton, TX 75006


2.6.      State what the contract or        Management contract
          lease is for and the nature of    for six manufactured
          the debtor's interest             housing communities.

             State the term remaining       Renews automatically
                                                                          Founding Partners, LLC
          List the contract number of any                                 217 Pierce, Ste. 209
                government contract                                       Birmingham, MI 48009


2.7.      State what the contract or        Copier lease.
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                          GreatAmerica Financial Services Corp.
          List the contract number of any                                 625 First St SE
                government contract                                       Cedar Rapids, IA 52401


2.8.      State what the contract or        Rental of office space.
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                     Heirloom Hospitality
                                                                          217 Pierce Street
          List the contract number of any                                 Suite 207
                government contract                                       Birmingham, MI 48009




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